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                                        UNITED STATES DISTRICT COURT
                                                   for the
                                       EASTERN DISTRICT OF CALIFORNIA

                                       PRETRIAL SERVICES VIOLATION PETITION
The United States,

      -vs-

  Jarmal Duplessis                                                                                Docket No. 2:09-CR-422-WBS-2

COMES NOW Beth A. Baker, Pretrial Services Officer of the Court, presenting an official report upon the conduct and
attitude of Jarmal Duplessis, who was placed on bond by the Honorable Dale A. Drozd, U.S. Magistrate Judge, sitting in
the Court at Sacramento, California, on the 12th day of November, 2009, who imposed the general terms and conditions
of pretrial supervision theretofore adopted by the Court and also imposed special terms and conditions as follows:

OFFENSE: 18: 371 - Conspiracy to Commit Student Loan Fraud. The defendant’s next status conference is set before
the Honorable William B. Shubb on May 3, 2010.

BOND CONDITIONS: The defendant was ordered released on a $10,000, unsecured appearance bond with Pretrial
Services supervision and special conditions. Please see attached.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant submitted urine samples which tested positive for marijuana (and were confirmed as “new use” by the Kroll Director of
Toxicology) on November 23, 2009; December 9, 2009; January 4, 2010; January 8, 2010; January 13, 2010; February 24, 2010; March
14, 2010; March 29, 2010; and April 1, 2010. It should be noted, in January of 2010, Pretrial Services attempted to address the defendant’s
continued marijuana use by enrolling him in substance abuse counseling and the Moral Reconation Therapy Program.

The defendant submitted a urine sample which tested positive for cocaine on January 19, 2010.

The defendant failed to attend the Moral Reconation Therapy Program on April 5, 2010.

PRAYING THAT THE COURT WILL ORDER this matter placed on this court's calendar on Friday, April 16, 2010, at 2:00
p.m.

LAST KNOWN ADDRESS:                On file with Pretrial Services
TELEPHONE NUMBER:                  On file with Pretrial Services

I declare under penalty of perjury that the foregoing is true and correct.
                                                                              Respectfully submitted,

                                                                              /s/ Beth A. Baker

                                                                              U.S. Pretrial Services Officer
                                                                ORDER         A p r il 1 4 , 2 0 1 0

_____ The Court hereby orders a bench warrant be issued for the arrest of said defendant, bail set at $                  .

____     The Court hereby orders this ex parte motion and order be sealed.

_____ The Court orders a summons be issued with an appearance date of _________________________.

  X      The Court hereby orders this matter placed on this court's calendar on April 16, 2010                 , at 2:00 p.m. and orders
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       the Pretrial Services Officer to contact the defendant and/or attorney of record to advise them of said order.

_____ The Court orders no action be taken.

                                                             Considered and ordered this 15th day of
                                                             April , 2010, and ordered filed and
                                                             made a part of the records in the above case.
                                                                  /s/ Gregory G. Hollows
                                                             _________________________________________
duplessis.ord                                                U.S. Magistrate Judge


           SPECIAL CONDITIONS:

           1.     You shall report to and comply with the rules and regulations of the Pretrial Services Agency;

           2.     You shall report in person to the Pretrial Services Agency on the first working day following
                  your release from custody;

           3.     You are to reside at a location approved by the pretrial services officer and not move or absent
                  yourself from this residence for more than 24 hours without the prior approval of the pretrial
                  services officer;

           4.     Your travel is restricted to the Eastern District of California without the prior consent of the
                  pretrial services officer;

           5.     You shall not possess a firearm, destructive device, or other dangerous weapon; additionally,
                  you shall provide written proof of divestment of all firearms currently under your control;

           6.     You shall refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
                  substance without a prescription by a licensed medical practitioner; and, you shall notify Pretrial
                  Services immediately of any prescribed medication(s). However, medicinal marijuana,
                  prescribed or not, may not be used;

           7.     You shall submit to drug or alcohol testing as approved by the pretrial services officer;

           8.     You shall seek and/or maintain employment and provide proof of same as requested by your
                  pretrial services officer;

           9.     You shall report any contact with law enforcement to your pretrial services officer within 24
                  hours;

           10.    You shall not associate or have any contact with the co-defendants in this case unless in the
                  presence of defense counsel;

           11.    You shall submit to DNA testing as directed by the United States Attorney’s Office.
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On January 27, 2010, the defendant’s conditions of release were modified by Stipulation and
Order to include:

12.   The defendant shall participate in a cognitive behavioral treatment program as directed by the
      pretrial services officer. Such program may include group sessions led by a counselor or
      participation in a program administered by the pretrial services officer; and,

13.   Defendant shall participate in a program of medical or psychiatric treatment, including
      treatment for drug or alcohol dependency, as approved by the pretrial services officer.
